Case 4:22-cr-00612 Document 451-3 Filed on 10/18/23 in TXSD Page 1 of 3




               EXHIBIT C
  Case 4:22-cr-00612 Document 451-3 Filed on 10/18/23 in TXSD Page 2 of 3



By joining the Atlas Trading server, you are agreeing to follow the
rules below. Any violation of these will result in a warning or ban.
We care about maintaining the quality of this group. **18 and up only!
**



1. Treat every member with respect.

2. Do not bash anyone on the server.

3. Do not spam or troll anywhere in the server.

4. Do your own DD! Posts are not a recommendation to buy or sell any
security!

5. We will not tell you to buy or sell anything at any time in this
room, don't ask.

6. You are solely responsible for your own trading decisions we are
NOT advisors.

7. Nothing in the information posted inside this room is intended to
be or should be interpreted as a promise or guarantee of any
particular result.

8. Nothing in the information posted inside this room is intended to
be or should be interpreted as trading advice.

9. DO NOT SELF PROMOTE. This means no posting your social media links
and telling people to follow you.

10. Swear words ARE allowed. However, we ask that you're respectful of
them. Don't overdo it.

11. Do NOT try to sell any products to members without permission from
an admin.

12. People that are just here to troll and hate will be instantly
banned, we don’t even entertain it. No bashing a member or calling
everyone FURU's or pumpers or any of that drama garbage.

13. We do not deal in certainty, do not post things like “buy ____
stock it will explode!!!” “don’t miss out!!!” stuff like that.

14. Do not ask anyone for money or to trade for you!

15. Do not post links to social media pages, referral links, other
chatrooms, OR anything requiring the purchase of anything. Instant ban
for this!
  Case 4:22-cr-00612 Document 451-3 Filed on 10/18/23 in TXSD Page 3 of 3




16. NO Posting of FALSE information. If you provide data in the
chatroom at all you better have evidence and proof of it! If you make
a claim and can't prove it/don't want to, ban!

17. Highly offensive content/images will result in a ban
